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                         United States District Court
                              District Of Maine



Richard Wood,

            Plaintiff,

       v.                                   Docket No.: 2:14-00436-GZS

Maine Turnpike Authority,

            Defendant.



                           Stipulation Of Dismissal

      Under Fed. R. Civ. P 41(a)(1)(A)(ii), counsel for all parties to this action

hereby stipulate and consent to the dismissal of the above-captioned case

with prejudice and without attorneys’ fees or costs to any party.


Date: April 13, 2015                 /s/ David G. Webbert
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                              Certificate of Service

       I hereby certify that on April 13, 2015 I electronically filed this filing
with the Clerk of Court using the CM/ECF system which will send
notification of such filing to the following:

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